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                                                               United States District Court
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                                                                Southern District of Texas

                                                                                  ENTERED
                                                                               February 28, 2017
                                                                               David J. Bradley, Clerk
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 CLIFFORD STALLWORTH,                      §
 Individually and On Behalf of All         §
 Others Similarly Situated,                §
                                           §               No.4: 15-cv-03673
               Plaintiff,                  §
                                           §
 v.                                        §
                                           §       JURY TRIAL DEMANDED
 PANTHER WELL SERVICE, LLC,                §
                                           §
               Defendant.                  §

                            FINAL DEFAULT JUDGMENT

        Today, the Court granted Plaintiff Clifford Stallworth' s Motion for Default

 Judgment. It is, therefore,

        ORDERED and ADJUDGED that Plaintiff Clifford Stallworth shall

 recover from Defendant Panther Well Service, LLC the sum of $18,477.80 plus

 costs of court, which represents $4,943.90 in unpaid wages plus $4,943.90 m

 liquidated damages plus $8,190.00 in attorney ' s fees.

        Additionally, costs are TAXED against Defendants m the amount of

 $400.00.

        This judgment shall bear interest at   0 ·'fb1      %per annum until paid.

        The Clerk of the Court is ORDERED to issue all writs of execution and

 other process necessary for the enforcement and collection of this judgment and all

 costs of court. All relief not granted in this judgment is DENIED.
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                                                          in the year 2017




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